                Case 23-15007-VFP                 Doc 1      Filed 06/08/23 Entered 06/08/23 15:26:21                                   Desc Main
                                                             Document     Page 1 of 46
 Fill m this information to identify your case:

 United States Bankruptcy Court for the:

 DISTRICT OF NEW JERSEY

 Case number (ifknown)     ---------------- Chapter                                       11
                                                                                                                           D Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.   Debtor's name               4312 Kennedy Blvd LLC

 2.   All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4312 Kennedy Blvd.                                              7855 Boulevard East, Apartment 168
                                  Union City, NJ 07087                                            North Bergen, NJ 07047
                                  Number, Street, City, State & ZIP Code                          P.O. Box. Number. Street, City, State & ZIP Code

                                  Hudson                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.    Debtor's website (URL)


6.    Type of debtor              ■   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                 D Partnership (excluding LLP)
                                  D Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 23-15007-VFP                   Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                               Desc Main
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                                                                                        46 number (itknown)
 Debtor     4312 Kennedy Blvd LLC
            Name
                                                                                                                         ----------------

 7.    Describe debtor's business      A. Check one:
                                        D Health Care Business (as defined in 11 U.S.C.§ 101(27A))
                                        D Single Asset Real Estate (as defined in 11 U.S.C.§ 101 (51B))
                                       D Railroad (as defined in 11 U.S.C.§ 101(44))
                                       D Stockbroker (as defined in 11 U.S.C.§ 101(53A))
                                       D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       D Clearing Bank (as defined in 11 U.S.C.§ 781(3))
                                       ■    None of the above

                                       B. Check all that apply
                                       D Tax-exempt entity (as described in 26 U.S.C.§ 501)
                                       D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.§80a-3)
                                       D Investment advisor (as defined in 15 U.S.C.§80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.    Under which chapter of the       Check one:
      Bankruptcy Code is the
                                       D Chapter7
      debtor filing?
                                      D Chapter 9
                                       ■
      A debtor who is a "small
      business debtor'' must check      Chapter 11. Check all that apply
      the first sub-box. A debtor as
      defined in§ 1182(1) who                          D The debtor is a small business debtor as defined in 11 U.S.C.§ 101(510), and its aggregate
      elects to proceed under                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      subchapter V of chapter 11                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      (whether or not the debtor is a                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
      "small business debtor'') must                        exist, follow the procedure in 11 U.S.C.§ 1116(1 )(8).
      check the second sub-box.
                                                           ■The debtor is a debtor as defined in 11 U.S.C.§ 1182(1 ), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,5 00,000, and it chooses to
                                                            proceed Under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C.§ 1116(1)(8).
                                                          D      A plan is being filed with this petition.
                                                          D      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C.§ 1126(b).
                                                          D      The debtor is required to file periodic reports (for example, 1 OK and 1OQ) with the Securities and
                                                                 Exchange Commission according to§ 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals FiHng for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                          D      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       D Chapter 12

9.    Were prior bankruptcy
      cases filed by or against
                                       ■   No.
                                       □ Yes.
      the debtor within the last 8
      years?
      If more than 2 cases, attach a
      separate list.                             District ---------- When    ------   Case number
                                                 District            Wh en -        - Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
               Case 23-15007-VFP                          Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                                Desc Main
                                                                       Document     Page 3 of Case
                                                                                               46 number {if known)
 Debtor   4312 Kennedy Blvd LLC
          Name
                                                                                                                                --------------
10. Are any bankruptcy cases
    pending or being filed by a
                                           ■    No
                                           □ Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor
                                                               ---------=�-------       Relationship
                                                      District __________ When ________ Case number, if known


11. Why is the case filed in           Check all that apply:
     this district?
                                       ■        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       D        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                       ■   No
    real property or personal          □   Yes.      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                     D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                     D It needs to be physically secured or protected from the weather.
                                                     D It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities�related assets or other options).
                                                     □ Other
                                                     Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                     □ No
                                                     D Yes.    Insurance agency
                                                               Contact name
                                                               Phone


          Statistical and administrative information

13. Debtor's estimation of                       Check one:
    available funds
                                                 D Funds will be available for distribution to unsecured creditors.

                                                 ■   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                   ■ 1-49
                                   D 50-99
                                                                                         D 1,000-5,ooo
                                                                                         D 5001-10,000
                                                                                                                                    D 25,001-50,000
                                                                                                                                    D 50,001-100,000
                                   D 100-199                                             D 10,001-25,000                            D More than100,000
                                   D 200-999

15. Estimated Assets               D $0 - $50,000
                                   D $50,001 - $100,000
                                                                                         ■ $1,000,001-$10 million
                                                                                         D $10,000,001 - $50 million
                                                                                                                                    D $500,000,001 - $1 billion
                                                                                                                                    D $1,000,000,001 - $10 billion
                                   D $100,001 - $500,000                                 D $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                   D $500,001 - $1 million                               D $100,000,001-$500 million                D More than $50 billion


16. Estimated liabilities          D $0 -$50,000                                         ■   $1,000,001-$10million                  D $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
               Case 23-15007-VFP         Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21 Desc Main
                                                     Document     Page 4 ofCase
                                                                            46 number (it known) _______________
Debtor    4312 Kennedy Blvd LLC
          Name

                           D $50,001 - $100,000                      D $10,000,001 - $50 million     D $1,000,000,001 - $10 billion
                           D $100,001 - $soo,ooo                     D $50,000,001 - $100 million    D $10,000,000,001 - $50 billion
                           D $500,001 - $1 million                   D $100,000,001 - $500 million   D More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page4
              Case 23-15007-VFP                  Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                 Desc Main
                                                             Document     Page 5 of Case
                                                                                     46 number (if known)
 Debtor    4312 Kennedy Blvd LLC
          Name
                                                                                                                        ---------------

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        G, J   s-/'J..:�
                                                  MM/DD/YYYY


                                                                                                         Betty Davis
                                                                                                         Printed name

                                 Title   Betty Davis, Manager




18. Signature of attorney    X                                                                            Date
                                                                                                                 MM/DD/YYYY




                                 Rabinowitz, Lubetkin & Tully, LLC
                                 Firm name

                                 293 Eisenhower Parkway
                                 Suite 100
                                 Livingston, NJ 0 7039
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-597-9100                 Email address


                                 20245 NJ
                                 Bar number and State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                            UNANIMOUS CONSENT
                     OF MEMBERS OF 4312 KENNEDY BLVD LLC

       I,Betty Davis, the manager of 4312 KennedyBlvd LLC (the "Company"), hereby

confirm the adoption of the Company of the following resolutions:

            BE IT RESOLVED that the Company is authorized to institute a
       Subchapter V, Chapter 11 bankruptcy filing in the United StatesBankruptcy
       Court for the District of New Jersey; and

             BE IT FURTHER RESOLVED that the Company is authorized to retain
       the firm of Rabinowitz, Lubetkin & Tully, LLC to act as its bankruptcy counsel in
       connection with such Chapter 11 bankruptcy filing.

       IN WITNESS WHEREOF, the undersigned have executed this Resolution as of this�

day of June, 2023.


                                         ���-
                                          B-e___,.......D
                                                        ......a.,..;-i�;-)4�-------
                                           Manager of 4312 Kennedy Blvd LLC
           Case 23-15007-VFP                   Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                              Desc Main
                                                           Document     Page 7 of 46




  Fill in this information to identify the case:

  Debtor name       4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY
                                            -----------------------
  Case number (if known)
                                                                                                                            D Check if this is an
                                                                                                                              amended filing



 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       ■        Schedule A/8: Assets-Real and Personal Property (Official Form 206NB)
       ■        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       ■        Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       ■
       ■        Schedule H: Codebtors (Official Form 206H)
       ■        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                Amended Schedule
       ■
       D


       D
                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                Other document that requires a declaration

      I declare under penalty of periury that the foregoing is true and correct.

       Executed on         (o}S/ 'J--":::::>
                             ' r                         X....,...J.'..+�����1,,,&����------------
                                                             s;      na re f indiv cl

                                                             Betty Davis
                                                             Printed name

                                                             Betty Davis, Manager
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                   Document     Page 8 of 46

                     •     -   •    •   • A




  Debtor name 4312 Kennedy Blvd LLC
  United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                                               □     Check if this is an

  Case number (if known):                                                                                                                                                            amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12115

 A list of creditors holding the20 largest unsecured claims must be filed in a Chapter11 or Chapter9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

 Name·ot creditor and              �ame, _telephone number. Nature ·of Claim
 c_Ompl�te·_mamng address, an_d �i:nai_l,a_d,d_ress·of .:- (fot_·eXtlm·p1e·,_-trade
                                                                                                 ..
                                                                                                  .
                                                                                                          Indicate if claim
                                                                                                           is ·contillf)erit,
                                                                                                                                  Amount of Claim- ·.                      •·.          .
                                                                                                                                  If the ciaini is _fully" unsecured, fill"lrl: only uns8cured cf8im ·amo1,mi_; Jf
                                                                                                                                                =

 inclu_d_ing_zip C_od�            ·creditor c_ontact          debt$, b8_1lk 1oa11_s,              --      unliquid8.ted; o_r      _claim _is· partial_ly s_eC:ured_, fill in ._total clai_m amo_uri_t an(! ·de_duction for


                                                                                                                  ..
                             •··                         ;   _p_rO�ssi(lri�t-��iviC8S;               i· ·     cUspUt_8Cf. -,.__   value of collateral or setoff to·ca1culate unsecured claim.-:.-. =- :· ·-
                                                             and 9ov_emment_ -. · · =- I
                                                           .
                                                                                                                                  Total claim, if                  Deduction for value Unsecured claim
 i <
                               .·
              .
           ·.• ·. ··•·· ·. . .         ··. .·.·   .·  ·         .. .. . .  -
                                                              contracts}: - _-_.------: · _ __ .                                  partially secured                of collateral or setoff
 A Plus Pest                                                                                                                                                                                                      $111.56
  Management Inc.
 559 Palisade Ave.
  Jersey City, NJ
 07307
 Al Capital Partners                                                        4314 Kennedy                                                  $929 ,939 1
                                                                                                                                                    . 0                       Unknown                         Unknown
 LLC                                                                          Blvd.
 3382 155 th Street                                                           Union City, NJ
 Flushing, NY 11354                                                         07087
                                                                             Block254
                                                                             Lot25
                                                                             As per June15 ,
                                                                            2022 Appraisal
                                                                             $300,000
Al Capital Partners                                                         4312 Kennedy                                                  $684,825.07                         Unknown                         Unknown
LLC                                                                          Blvd.
3382 155 th Street                                                           Union City, NJ
Flushing, NY 11354                                                          07087
                                                                             Block 254
                                                                             Lot25
                                                                             As per June15,
                                                                            2022 Appraisal
                                                                             $990,000
Al Capital Partners                                                         4316 Kennedy                                                 $929,939.00                         Unknown                         Unknown
 LLC                                                                         Blvd.
3382 155 th Street                                                           Union City, NJ
Flushing, NY 11354                                                          07087
                                                                            Block254
                                                                            Lot24
                                                                            As per June15,
                                                                            2022 Appraisal
                                                                            $220.000
 Internal Revenue                                                           NOTICE ONLY                                                                                                                              $0.00
 Service
 PO Box 7346
 Philadelphia, PA
 19101


Official form 204                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                                              page 1
Case 23-15007-VFP   Doc 1   Filed 06/08/23 Entered 06/08/23 15:26:21   Desc Main
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                    Case 23-15007-VFP                  Doc 1           Filed 06/08/23 Entered 06/08/23 15:26:21                                               Desc Main
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  Debtor     4312 Kennedy Blvd LLC                                                                                Case number (if known)
             Name

  Name of creditor and             Name,-telephone number.    Nature of claim              Indicate if claim Anuiu1_1t of claim
  cOin_1:1letf!,_ mailing address; and email:8ddi'ess of      (f()r exa,·mple! _trade--.    is contingent,    If the c:!aim is_ fully uniecured, fill in o_nly _µnse:eure� 'clalm_ amount If
  including zip·c_ode              creditor coritact         _cfebts,· ban_k loans,        unllqUidatEld, _or claim,_ls p_artla!ly.secured,- fill _in total claim amount ar\d deductio_n for
                                                              profe_ssion·a1 seivi_ces;        disputed       Value ofcollateral or setoff-tci c'afculate· unsecured claim:
                                                                                                              Total claim, if              Deduction for value Unsecured claim
                                                                                                              partially secured            of collateral or setoff
  Veolia                                                                                                                                                                                 $0.00
  69 Devoe Pl
  Hackensack, NJ
  07601




Official form 204                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                           page 3
         Case 23-15007-VFP                      Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                     Desc Main
                                                           Document      Page 11 of 46
  Fill in this information to identify the case:

  Debtor name       4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the:    -----------------------
                                             DISTRICT OF NEW JERSEY

  Case number (if known)
                                                                                                                □    Check if this is an
                                                                                                                     amended filing



 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                               12/15

 1¥'.GIM Summary of Assets
  1.   Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/8....                                                                                     UNKNOWN

       1 b. Total personal property:
            Copy line 91A from Schedule AIB                                                                                10,433.94
                                                                                                                     $ --------

       1c. Total of all property:
           Copy line 92 from Schedule AIB..                                                                          $ ___U_ N _ K_N _ OW
                                                                                                                                        _ N
                                                                                                                                          _


1¥'.GtW Summary of Liabilities
 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....                     2,558,163.06
                                                                                                                         --------

 3.    Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule EIF.                                           $         0.00
                                                                                                                         --------
       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule EIF.                               74,407.56
                                                                                                                    +$ ----�--


 4.    Total liabilities
       Lines 2 + 3a + 3b                                                                                        $      2,632,570.62
                                                                                                                    --------




 Official F onn 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                        page 1
Software Copyright {c} 1996-2023 Best Case, LLC - www.bestcase.com
              Case 23-15007-VFP                   Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                   Desc Main
                                                             Document      Page 12 of 46
  Fill in this information to identify the case:
  Debtor name         4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the:
                                               ------------------------
                                               DISTRICT OF NEW JERSEY

  Case number {if known)
                                                                                                                                   D Check if this is an
                                                                                                                                     amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
- Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?


      ■
      D No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                         debtor's interest

 3.          Checking, savings, money market, or financial brokerage accounts (Identify aJJ)
             Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                              number
                    M&T Bank
                    7533 Bergenline Ave.                                Checking (Bank account
             3.1.   North Bergen, NJ 07047                              in name of member)                                                          $10,433.94



 4.          Other cash equivalents (Identify all)

 5.          Total of Part 1.                                                                                                                   $10,433.94
             Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

- Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      ■ No. Go to Part 3.
      D Yes Fill in the information below.


121111111   Accounts receivable
10. Does the debtor have any accounts receivable?


      ■
      D No. Go to Part 4.
          Yes Fill in the information below.

11.          Accounts receivable

             11b. Over 90 days old:                       80,000.00                                  80,000.00 =..                                       $0.00
                                          face amount                         doubtful or uncollectible accounts


Official Form 206NB                                     Schedule NB Assets - Real and Personal Property                                                  page 1
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                                                             Document      Page 13 of 46

  Debtor           4312 Kennedy Blvd LLC                                                        Case number (If known) _____________
                   Name


  12.         Total of Part 3.                                                                                                             $0.00
              Current value on lines 11 a+ 11 b = line 12. Copy the total to line 82.

 11111111 Investments
 13. Does the debtor own any investments?

       ■ No. Go to Part 5.
       D Yes Fi!! in the information below.


 - Inventory, excluding agriculture assets
 18. Does the debtor own any inventory (excluding agriculture assets)?

       ■ No. Go to Part 6.
       D Yes Fill in the information below.


ll1illlll Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       ■ No. Go to Part 7.
       D Yes Fill in the information below.


lii1ililll Office furniture, fixtures, and equipmentj and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       □ No. Go to Part 8.
       ■ Yes Fill in the information below.
             General description                                            Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

 39.         Office furniture

 40.         Office fixtures
             Miscellaneous fixtures in 3 buildings                                          $0.00                                             $0.00



 41.        Office equipment, including all computer equipment and
            communication systems equipment and software

 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                 $0.ool
            Add lines 39 through 42. Copy the total to line 86.




             □■
44.         Is a depreciation schedule available for any of the property listed in Part 7?
                  No
                  Yes




            □■
45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
                  No
                  Yes

ll1illlll Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                      page 2
           Case 23-15007-VFP                    Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                              Desc Main
                                                           Document      Page 14 of 46

  Debtor          4312 Kennedy Blvd LLC                                                        Case number (If known) _____________
                     Name


       ■ No. Go to Part 9.
       D Yes Fill in the information below.


 - Real property
 54. Does the debtor own or lease any real property?


       ■
       D No. Go to Part 10.
           Yes Fill in the information below.

  55.         Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

              Description and location of           Nature and             Net book value of            Valuation method used   Current value of
             property                               extent of              debtor's interest            for current value       debtor's interest
             Include street address or other        debtor's Interest      (Where available)
             description such as Assessor           in property
             Parcel Number (APN), and type
             of property (for example,
             acreage, factory, warehouse,
             apartment or office building, if
             available.
             55.1. 4314 Kennedy Blvd.
                       Union City, NJ 07087
                       Block254
                       Lot25
                       As per June15, 2022
                       Aeeraisal $300,000                                            Unknown            Appraisal                           Unknown


             55.2. 4312 Kennedy Blvd.
                       Union City, NJ 07087
                       Block 254
                       Lot25
                       As per June15, 2022
                       Aeeraisal $990,000                                            Unknown            Appraisal                           Unknown


             55.3.     4316 Kennedy Blvd.
                       Union City, NJ 07087
                       Block254
                       Lot24
                       As per June 15, 2022
                       Aeeraisal $220,000                                            Unknown            Appraisal                           Unknown



 56.         Total of Part 9.                                                                                                             Unknown
             Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
             Copy the total to line 88.

 57.
             ■
             Is a depreciation schedule available for any of the property listed in Part 9?
                 No
             □ Yes
58.          Has any of the property listed in Part 9 been appraised by a professional within the last year?
             □ No
             ■   Yes

-- Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   ■ No. Go to Part 11.
   D Yes Fill in the information below.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 3
           Case 23-15007-VFP                     Doc 1           Filed 06/08/23 Entered 06/08/23 15:26:21        Desc Main
                                                                Document      Page 15 of 46

  Debtor         4312 Kennedy Blvd LLC                                                     Case number (If known) _____________
                 Name



IBIIIII All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       D No. Go to Part 12.
       ■ Yes Fill in the information below.
                                                                                                                Current value of
                                                                                                                debtor's interest


 71.         Notes receivable
             Description (include name of obligor)

 72.         Tax refunds and unused net operating losses (NOLs)
             Description (for example, federal, state, local)

 73.         Interests in insurance policies or annuities
 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Possible fraudulent transfer and mismanagement
            claims against
            James Davis
            120 Second Street
            South Orange, NJ 07079                                                                                         Unknown
            Nature of claim
            Amount requested                                        $0.00



 75.        Other contingent and unllquldated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                $0.00
            Add lines 71 through 77. Copy the total to line 90.

79.         Has any of the property listed in Part 11 been appraised by a professional within the last year?
            ■ No
            □ Yes




Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                        page4
            Case 23-15007-VFP                                        Doc 1              Filed 06/08/23 Entered 06/08/23 15:26:21                                                        Desc Main
                                                                                       Document      Page 16 of 46

  Debtor              4312 Kennedy Blvd LLC                                                                                        Case number (If known) _____________
                      Name



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              _ _           _ _ _ry�------------------------------------------

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                                                                                                                                                          cu"rrenbJMue-·o:t.'i- eai·
                                                                                                                                                         ·pr9p�11y_-- -- -- - ----
       Typi'q1 WBPertr                            · · ··                         ·
                                                                                                                    ::P�i�:Oij.�fPr9P9rlY:
  80. Cash, cash equivalents, and financial assets.
      Copy line 5, Part 1                                                                                                         $10,433.94

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                                       $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                            $0.00

  83. Investments. Copy line 17, Part 4.                                                                                                   $0.00

 84. Inventory. Copy line 23, Parl 5.                                                                                                      $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                             $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                                             $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                             $0.00

 88. Real property. Copy line 56, Part 9 ...                                                                                      ............>                                      UNKNOWN

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                                         $0.00

 90. All other assets. Copy line 78, Part 11.                                                                   +                          $0.00

 91. Total. Add lines 80 through 90 for each column                                                                           $10,433.94           I+ 91b.                            UNKNOWN


 92. Total of all property on S chedule A/8. Add fines 91a+91b=92                                                                                                                            UNKNOWN




Official Form 206A/B                                                           Schedule A/B Assets - Real and Personal Property                                                                  page 5
             Case 23-15007-VFP                          Doc 1      Filed 06/08/23 Entered 06/08/23 15:26:21                                   Desc Main
                                                                  Document      Page 17 of 46
  Fill in this information to identify the case:

  Debtor name         4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the:
                                                   ------------------------
                                                   DISTRICT OF NEW JERSEY

  Case number (if known)
                                                                                                                                       D     Check if this is an
                                                                                                                                             amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
     D No. Check this box and submit page 1
     ■
                                                        of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes.Fill in all of the information below.

 l@IM List Creditors Who Have Secured Claims                                                                       Column A                    Column a
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
[2Il Creditor's
     Al Capital Partners LLC
                Name
                                                     Describe debtor's property that is subject to a lien                   $929,939.10                Unknown
                                                    431 4 Kennedy Blvd.
                                                    Union City, NJ 07087
                                                    Block25 4
                                                    Lot25
      3382 155th Street                             As per June15, 2022 Appraisal $300,000
      Flushing, NY11354
       Creditor's mailing address                   Describe the lien



                                                    ■
                                                    Is the creditor an insider or related party?
                                                        No
       Creditor's email address, if known           □   Yes
                                                    Is anyone else liable on this claim?
                                                    □ No
                                                    ■
      Date debt was Incurred
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                 As of the petition filing date, the claim is:
      interest in the same property?                Check all that apply
      □                                             D Contingent
      ■
          No
          Yes. Specify each creditor,               D Unliquidated
      including this creditor and its relative      D Disputed
      priority.
      1. Al Capital Partners LLC
      2. North Hudson Sewerage
      Authority


[:ul Creditor's
     Al Capital Partners LLC
                Name
                                                    Describe debtor's property that is subject to a lien                  $68 4,825.07                Unknown
                                                   4312 Kennedy Blvd.
                                                   Union City, NJ 07087
                                                   Block254
                                                   Lot25
      3382 155th Street                            As per June15, 2022 Appraisal $990,000
      Flushing, NY 11354
      Creditor's mailing address                    Describe the lien



                                                    ■
                                                    Is the creditor an insider or related party?
                                                        No
      Creditor's email address, if known            □ Yes
                                                    Is anyone else liable on this claim?
      Date debt was incurred                        □ No
Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 5
              Case 23-15007-VFP                        Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                                  Desc Main
                                                                   Document      Page 18 of 46
  Debtor        4312 Kennedy Blvd LLC                                                                  Case number (if known)
                Name



         Last 4 digits of account number
                                                     ■   Yes. Fill out Schedule H: Codebtors (Official Form 206H)


         Do multiple creditors have an               As of the petition filing date, the claim is:
         interest In the same property?              Check all that apply
         □
         ■
             No                                      D Contingent
             Yes. Specify each creditor,             D Unliquidated
         including this creditor and its relative    D Disputed
         priority.
         1. Al Capital Partners 'LLC
         2. North Hudson Sewerage
         Authority

@Al Capital Partners LLC                             Describe debtor's property that is subject to a lien                       $929,939.00       Unknown
         Creditor's Name                             4316 Kennedy Blvd.
                                                     Union City, NJ 07087
                                                     Block 254
                                                     Lot24
        3382 155th Street                            As per June 15, 2022 Appraisal $220,000
        Flushing, NY 11354
        Creditor's maillng address                   Describe the lien



                                                     ■
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known           □ Yes
                                                     ■
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                     D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an               As of the petition filing date, the claim is:
        interest in the same property?              Check an that apply
        □
        ■
            No                                      D Contingent
            Yes. Specify each creditor,             D Unliquidated
        including this creditor and its relative    D Disputed
        priority.
        1. Al Capital Partners LLC
        2. North Hudson Sewerage
        Authority

        North Hudson Sewerage
 2                                                                                                                                 $708.00        Unknown
     .4 Authori                                     Describe debtor's property that is subject to a lien
        Creditor's Name                             4312 Kennedy Blvd.
                                                    Union City, NJ 07087
                                                    Block 254
                                                    Lot 25
        1600 Adams St.                              As per June 15, 2022 Appraisal $990,000
        Hoboken, NJ 07030
        Creditor's mailing address                  Describe the lien



                                                    ■□
                                                    Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known               Yes


                                                    ■
                                                    Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                    D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check au that apply




Official Form 206 □                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page2of5
            Case 23-15007-VFP                       Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                               Desc Main
                                                                Document      Page 19 of 46
  Debtor      4312 Kennedy Blvd LLC                                                                Case number (if known)
              Name

       □ No                                        D Contingent
       ■ Yes. Specify each creditor,               D Unliquidated
       including this creditor and its relative    D Disputed
       priority.
       Specified on line 2.2


  2 5 North Hudson Sewerage                                                                                                 $1,070.00       Unknown
   · Authori                                       Describe debtor's property that is subject to a lien
       Creditor's Name                            4314 Kennedy Blvd.
                                                  Union City, NJ 07087
                                                  Block 254
                                                  Lot25
       1600 Adams St.                             As per June 15, 2022 Appraisal $300,000
       Hoboken, NJ 07030
       Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                  ■ No
       Creditor's email address, if known         □ Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      ■ No
                                                  D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check au that apply
      □   No                                      D Contingent
      ■ Yes. Specify each creditor,               0 Unllquldated
      including this creditor and its relative    D Disputed
      priority.
      Specified on line 2.1


 2 6 North Hudson Sewerage                                                                                                    $656.00       Unknown
  · Authori                                       Describe debtor's property that is subject to a lien
      Creditor's Name                             4316 Kennedy Blvd.
                                                  Union City, NJ 07087
                                                  Block 254
                                                  Lot24
      1600 Adams St.                              As per June 15, 2022 Appraisal $220,000
      Hoboken, NJ 07030
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an Insider or related party?
                                                  ■ No
      Creditor's email address, if known          □ Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      ■ No
                                                  D Yes. Fil! out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      □
      ■
          No                                      D Contingent
          Yes. Specify each creditor,             D Unliquidated
      including this creditor and its relative    D Disputed
      priority.
      Specified on line 2.3

@TI Union City Tax Collector                      Describe debtor's property that is subject to a lien                      $4,341.83          $0.00



Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of5
             Case 23-15007-VFP                        Doc 1      Filed 06/08/23 Entered 06/08/23 15:26:21                                 Desc Main
                                                                Document      Page 20 of 46
  Debtor        4312 Kennedy Blvd LLC                                                               Case number (if known)
                Name
        Creditor's Name                            4312 Kennedy Blvd.
                                                   Union City, NJ 07087
                                                   Block254
                                                   Lot25
       3715 Palisade Ave.                          As per June 15, 2022 Appraisal
       Union City, NJ 07087
       Creditor's mailing address                  Describe the lien



                                                   ■□
                                                   Is the creditor an insider or related party?
                                                        No
       Creditor's email address, if known              Yes


                                                    ■
                                                   Is anyone else liable on this claim?
       Date debt was incurred                           No
                                                   D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:

       ■
       interest in the same property?              Check all that apply
           No                                      D Contingent
       D Yes. Specify each creditor,               D Unliquidated
       including this creditor and its relative    D Disputed
       priority.



[z;aJ Union City Tax Collector                     Describe debtor's property that is subject to a lien                      $3,215 .24          $0.00
       Creditor's Name                            4314 Kennedy Blvd.
                                                  Union City, NJ 07087
                                                  Block254
                                                  Lot25
      3715 Palisade Ave.                          As per June15, 2022 Appraisal
      Union City, NJ 07087
       Creditor's mailing address                 Describe the lien



                                                  ■
                                                  Is the creditor an insider or related party?
                                                        No
      Creditor's email address, if known          □ Yes
                                                  ■
                                                  Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                  D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:

      ■
      Interest in the same property?              Check all that apply
           No                                     D Contingent
      D Yes. Specify each creditor,               D Unliquidated
      including this creditor and its relative    D Disputed
      priority.



ITT] Union City Tax Collector                     Describe debtor's property that is subject to a lien                       $3,468.82           $0.00
      Creditor's Name                             4316 Kennedy Blvd.
                                                  Union City, NJ 07087
                                                  Block254
                                                  Lot24
     3715 Palisade Ave.                           As per June 15, 2022 Appraisal
     Union City, NJ 07087
      Creditor's mailing address                  Describe the lien



                                                  ■
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known          Dves
                                                  Is anyone else liable on this claim?

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 5
             Case 23-15007-VFP                      Doc 1         Filed 06/08/23 Entered 06/08/23 15:26:21                                  Desc Main
                                                                 Document      Page 21 of 46
  Debtor       4312 Kennedy Blvd LLC                                                                Case number (if known)


                                                    ■
               Name

         Date debt was incurred                         No
                                                    D Yes. Fill out Schedule H: Codebtors {Official Form 206H)
         Last 4 digits of account number

         Do multiple creditors have an              As of the petition filing date, the claim is:

         ■
         interest in the same property?             Check all that apply
             No                                     D Contingent
         D Yes. Specify each creditor,              D Un!iquidated
         including this creditor and its relative   D Disputed
         priority.



                                                                                                                             $2,558,163.0
  3.   Total of the dollar amounts from Part 1, Column A1 including the amounts from the Additional Page, if any.                       6

lifflfM List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
         Edwin T. Brando, Jr., Esq.
         Newman, Simpson & Cohen LLP                                                                        Line_lL
         Court Plaza North
         25 Main Street, 6th Floor
         Hackensack, NJ 07601

         Edwin T. Brando, Jr., Esq.
         Newman, Simpson & Cohen LLP                                                                        Line�
         Court Plaza North
         25 Main Street, 6th Floor
         Hackensack, NJ 07601




Official Form 2060                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 5 of5
             Case 23-15007-VFP                    Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                                        Desc Main
                                                              Document      Page 22 of 46
  Fill in this mformation to identify the case:

  Debtor name          4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the:
                                               ---------------------
                                               DISTRICT OF NEW JERSEY

  Case number (if known)
                                                                                                                                         □     Check if this is an
                                                                                                                                               amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Assets- Real and
 Personal Properly (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 l@IM List All Creditors with PRIORITY Unsecured Claims
      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         D No. Go to Part 2.
         ■   Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

� Priority creditor's name and mailing address               As of the petition filing date, the claim is:                              Unknown          $0.00
          Internal Revenue Service                           Check all that apply.
          PO Box 7346                                        D Contingent
          Philadelphia, PA 19101                              D Unliquidated
                                                              D Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                             NOTICE ONLY


                                                              ■
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a)@)
                                                             □ Yes
� Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             Unknown           $0.00
          New Jersey Attorney General                        Check all that apply.
          Office                                             D Contingent
          Division of Law                                    D Unliquidated
          Richard J. Hughes Justice                          D Disputed
          Complex
          25 Market Street, P.O. Box 112
          Trenton NJ 08625
          Date or dates debt was incurred                    Basis for the claim:
                                                             NOTICE ONLY


                                                             ■
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507{a)@)
                                                             □ Yes




Official Form 206E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                      page 1 of4
                                                                                                             50844
             Case 23-15007-VFP                      Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                                            Desc Main
                                                                Document      Page 23 of 46
  Debtor      4312 Kennedy Blvd LLC                                                                      Case number (if known)
              Name
 � Priority creditor's name and mailing address                 As of the petition filing date, the claim is:                                     Unknown    $0.00
           New Jersey Division of Taxation                      Check all that apply.
           Compliance and Enforcement                           D Contingent
           3 John Fitch Way, 5th Floor                          D Unliquidated
           PO Box245                                            D Disputed
           Springfield, NJ 08695
           Date or dates debt was incurred                      Basis for the claim:
                                                                NOTICE ONLY
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a)@)
                                                                ■ No
                                                                Dves

 � Priority creditor's name and mailing address                As of the petition filing date, the claim is:                                      Unknown    $0.00
           United States Attorney                              Check all that apply.
           Peter Rodino Federal Building                       D Contingent
           970 Broad Street, Suite 700                          D Unliquidated
           Newark, NJ 07102                                     D Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                               NOTICE ONLY
           Last 4 digits of account number                     Is the claim subject to offset?
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a)@)
                                                               ■ No
                                                               □ Yes
� Priority creditor's name and mailing address                 As of the petition filing date, the claim is:                                      Unknown   $0.00
           United States Attorney General                      Check all that apply.
           United States Department of                         D Contingent
           Justice                                             D Un!iquidated
           Ben Franklin Station                                D Disputed
           Washington, DC 20044
           Date or dates debt was incurred                     Basis for the claim:
                                                               NOTICE ONLY
           last 4 digits of account number                     Is the claim subject to offset?
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) @)
                                                               ■ No
                                                               □ Yes

l@fM List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

� Nonprlority creditor's name and mailing address                            As of the petition filing date, the claim is: Check al/that apply.                   $111.56
         A Plus Pest Management Inc.                                         D Contingent
         559 Palisade Ave.                                                   D Un!iquidated
         Jersey City, NJ 07307                                               D Disputed
         Date(s) debt was incurred_
                                                                             Basis for the claim:
         Last 4 digits of account number_
                                                                             Is the claim subject to offset?    ■ No   D Yes

� Nonpriority creditor's name and malling address                           As of the petition filing date, the claim is: Check all that apply.                Unknown
         PSE&G                                                               D Contingent
         PO Box 14444                                                        D Unliquidated
         New Brunswick, NJ 08906-4444                                        D Disputed
         Date(s) debt was incurred_
                                                                            Basis for the claim:
         Last 4 digits of account number_
                                                                             Is the claim subject to offset?    ■ No   D Yes


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of4
             Case 23-15007-VFP                      Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                              Desc Main
                                                               Document      Page 24 of 46
  Debtor      4312 Kennedy Blvd LLC                                                                   Case number (if known)
              Name

 @=:J Nonpriority creditor's name and mailing address                       As of the petition filing date, the cl aim is: Check all that apply,                    $160.00
           Security Equipment Services                                      D Contingent
           PO Box 1012                                                      D Unliquidated
           Union City, NJ 07087                                             D Disputed
           Date(s) debt was incurred_

                                                                                                               ■
                                                                            Basis for the claim:
           Last 4 digits of account number_
                                                                            ls the claim subject to offset?         No    D Yes
 � Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Checkafl that apply.                  $67,000.00
           Small Business Administration                                    D Contingent
           PO Box 3918
                                                                            ■
                                                                            D Unliquidated
           Portland, OR 97208-3918                                              Disputed
           Date(s) debt was incurred_

                                                                                                               ■
                                                                            Basis for the claim:
           Last 4 digits of account number_
                                                                            Is the claim subject to offset?         No D Yes

 [IO Nonpriority creditor's n ame and mailing address                       As of the petition filing d ate, the claim is: Check all that apply.                 $7,136.00
           State of New Jersey                                              D Contingent
           Department of Community Affairs
                                                                            ■
                                                                            D Unliquidated
           PO Box 810                                                           Disputed
           Trenton, NJ 08625

                                                                                                               ■
                                                                            Basis for the claim:
           Date(s) debt was incurred_
           Last 4 digits of account number_                                 Is the claim subject to offset?         No D Yes

� Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                   Unknown
           Veolia                                                           D Contingent
          69 Devoe Pl                                                       D Unliquidated
          Hackensack, NJ 07601                                              D Disputed
          Oate(s) debt was incurred_

                                                                                                               ■
                                                                           Basis for the claim:
           Last 4 digits of account number   2222
                                                                           Is the claim subject to offset?          No D Yes



l#ffliW list Others to Be Notified About Unsecured Claims
4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any
 4.1     Eamonn J. O'Hagan, Esq.
         United States Attorney's Office - Newark                                                   Line      3.4
         970 Broad Street
         Room 700                                                                                   D      Not listed. Explain __
         Newark, NJ 07102-2534
 4.2     Small Business Administration
         2 North 20th Street                                                                        Line      3.4
         Suite 320
         Birmingham, AL 35203                                                                       D      Not listed. Explain __



i:.ffliM Total Amounts of the Priority and Non priority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         · TOtar Of:crahn amounts:
 Sa. Total claims from Part 1                                                                           -           $                                �00
 Sb. Total claims from Part 2                                                                           5b.    +    $ ------�74-,4
                                                                                                                                 - �07-.5- �6




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of4
            Case 23-15007-VFP         Doc 1    Filed 06/08/23 Entered 06/08/23 15:26:21                  Desc Main
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  Debtor      4312 Kennedy Blvd LLC                                          Case number (if known)
              Name


  5c. Total of Parts 1 and 2
       Lines 5a + 5b = Sc.                                                     5c.     $    -------------
                                                                                                    74,407.56




Official Form 206 E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                       Page 4 of4
              Case 23-15007-VFP                  Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                  Desc Main
                                                            Document      Page 26 of 46
  Fill in this information to identify the case:

  Debtor name        4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the: -----------------------
                                          DISTRICT OF NEW JERSEY

  Case number (if known)
                                                                                                                                   D Check if this is an
                                                                                                                                     amended filing


 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?

        ■
        D No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule AIB: Assets -Real and Personal           Properly
 (Official Form 206NB).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or            Loan Agreements
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Al Capital Partners LLC
              List the contract number of any                                        3382155 th Street
                    government contract                                               Flushing, NY 11354


 2.2.         State what the contract or            Lease � Commercial
              lease is for and the nature of        Space
              the debtor's interest                4316 Kennedy Blvd.
                                                    Union City, NJ 07087
                  State the term remaining                                           Beracas Auto Repairs & Tires, LLC
                                                                                     121 41st Street
              List the contract number of any                                        Apt. 2
                    government contract                                              Union City, NJ 07087


 2.3.         State what the contract or           Lease
              lease is for and the nature of       Apartment3
              the debtor's interest

                 State the term remaining                                            Carlos Luna
                                                                                     4312 Kennedy Blvd
              List the contract number of any                                        Apartment3
                    government contract                                              Union City, NJ 07087


2.4.          State what the contract or           Lease
              lease is for and the nature of       Apartment1
              the debtor's interest

                 State the term remaining                                            Hidalgo Luviano
                                                                                     4314 Kennedy Blvd.
              List the contract number of any                                        Apartment1
                    government contract                                              Union City, NJ 07087




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 3
           Case 23-15007-VFP                 Doc 1    Filed 06/08/23 Entered 06/08/23 15:26:21                  Desc Main
                                                     Document      Page 27 of 46
  Debtor 1 4312 Kennedy Blvd LLC                                                  Case number (if known)
            First Name         Middle Name           Last Name



           Additional Page if You Have More Contracts or Leases
 -

  2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

  2.5.     State what the contract or         Lease
           lease is for and the nature of     Apartment 1
           the debtor's interest

               State the term remaining                                  Hilaria
                                                                         4312 Kennedy Blvd
            List the contract number of any                              Apartment 1
                  government contract                                    Union City, NJ 07087


 2.6.      State what the contract or         Lease
           lease is for and the nature of     Apartment2
           the debtor's interest

               State the term remaining                                 Juan Carlos Ambrosio
                                                                        4312 Kennedy Blvd
           List the contract number of any                              Apartment2
                 government contract                                    Union City, NJ 07087


 2.7.      State what the contract or         Commercial Lease
           lease is for and the nature of
           the debtor's interest

              State the term remaining
                                                                        LaGlamerosa Events LLC
           List the contract number of any                              4312 Kennedy Blvd.
                 government contract                                    Union City, NJ 07087


 2.8.      State what the contract or         Lease
           lease is for and the nature of     Apartment2
           the debtor's interest

              State the term remaining                                  Leonardo Espinosa
                                                                        4314 Kennedy Blvd
           List the contract number of any                              Apartment2
                 government contract                                    Union City, NJ 07087


 2.9.     State what the contract or          Lease
          lease is for and the nature of      Apartment4
          the debtor's interest

              State the term remaining
                                                                        Marta Pintle
           List the contract number of any                              4312 Kennedy Blvd
                 government contract                                    Union City, NJ 07087




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 3
          Case 23-15007-VFP                 Doc 1     Filed 06/08/23 Entered 06/08/23 15:26:21                  Desc Main
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  Debtor 1 4312 Kennedy Blvd LLC                                                  Case number (if known)
            First Name        Middle Name           Last Name



          Additional Page if You Have More Contracts or Leases
 -

  2. List all contracts and unexpired leases                         State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

  2.10.    State what the contract or        Lease
           lease is for and the nature of    Apartments
           the debtor's interest

               State the term remaining                                  Morales
                                                                         4312 Kennedy Blvd
           List the contract number of any                               Apt. 5
                  government contract                                    Union City, NJ 07087




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of3
           Case 23-15007-VFP                   Doc 1     Filed 06/08/23 Entered 06/08/23 15:26:21                               Desc Main
                                                        Document      Page 29 of 46
  Fill in this information to identify the case:

  Debtor name     4312 Kennedy Blvd LLC

 United States Bankruptcy Court for the:   ---------------------
                                           DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                           D Check if this is an
                                                                                                                             amended filing

 Official Form 206H
 Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

     1. Do you have any codebtors?


 ■
 D No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D�G. l'nclude all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



           Name                         Mailing Address                                         Name                            Check all schedules
                                                                                                                                that apply:

   2, 1    James Davis                  120 Second Street
                                        South Orange, NJ 07079
                                                                                                Al Capital Partners
                                                                                                LLC
                                                                                                                                ■   D
                                                                                                                                □ E/F
                                                                                                                                          2,1

                                                                                                                                □G


   2.2     James Davis                 120 Second Street
                                       South Orange, NJ 07079
                                                                                                Al Capital Partners
                                                                                                LLC
                                                                                                                                ■   D
                                                                                                                                □ E/F
                                                                                                                                          2,2

                                                                                                                                □G


                                                                                                                               DD
                                                                                                                               ■□
   2.3     James Davis                 120 Second Street                                       Small Business
                                       South Orange, NJ 07079                                  Administration                       E/F      3.4
                                                                                                                                    G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
             Case 23-15007-VFP                 Doc 1        Filed 06/08/23 Entered 06/08/23 15:26:21                                 Desc Main
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  Fill m this mformat1on to identify the case:

  Debtor name       4312 Kennedy Blvd LLC

  United States Bankruptcy Court for the:   ------------------------
                                            DISTRICT OF NEW JERSEY

  Case number (if known)
                                                                                                                                D Check if this is an
                                                                                                                                  amended filing


 Official Form 207
 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
 The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write the debtor's name and case number (if known).

i:/MIM Income
 1. Gross revenue from business

       D None.

       Identify the beginning and ending dates of the debtor's fiscal year,             Sources of revenue                          Gross revenue
       which may be a calendar year                                                     Check all that apply                        (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                            ■ Operating a business                                 $48,728.00
       From 1/01/2023 to Filing Date
                                                                                        D Other


       For prior year:                                                                  ■ Operating a business                                $145,440.00
       From 1/01/2022 to 12/31/2022
                                                                                        D Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately, Do not include revenue listed in line 1.

      ■   None.

                                                                                        Description of sources of revenue           Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

1:/MfM List Certain Transfers Made Before Filing for Bankruptcy
3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      D None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              A _Plus Pest Management Inc.                         Within the                            $222.00       D Secured debt
              559 Palisade Ave.                                    last90 days                                         D Unsecured loan repayments
              Jersey City, NJ 07307                                                                                    D Suppliers or vendors
                                                                                                                       ■ Services
                                                                                                                       D Other_



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
               Case 23-15007-VFP                 Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                   Desc Main
                                                            Document      Page 31 ofCase
                                                                                     46number (if known)
   Debtor      4312 Kennedy Blvd LLC                                                                                          ------------

        Creditor's Name and Address                                  Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                          Check all that apply
        3.2.                                                                                                              D Secured debt
                Security Equipment Services                          Within the                         $2,119.00
                PO Box1012                                           last90 days                                          D Unsecured loan repayments
                Union City, NJ 07087                                                                                      D Suppliers or vendors
                                                                                                                          ■ Services
                                                                                                                          D Other_


        3.3.                                                                                                              D Secured debt
                PSE&G                                                Within the                        $3,983.00
                PO Box 14444                                         last90 days                                          D Unsecured loan repayments
                New Brunswick, NJ 08906-4444                                                                              D Suppliers or vendors
                                                                                                                          ■ Services
                                                                                                                          D Other_


       3.4.
               Small Business Administration
               PO Box3918
                                                                     Within the
                                                                     last90 days
                                                                                                         $375.00          ■ Secured debt
                                                                                                                          D Unsecured loan repayments
               Portland, OR 97208-3918                                                                                    D Suppliers or vendors
                                                                                                                          D Services
                                                                                                                          D Other_


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101 (31 ).

      D None.

       Insider's name and address                                   Dates                 Total amount of value          Reasons for payment or transfer
       Relationship to debtor
       4.1.     James Davis                                                                            Unknown           Unknown amounts of rents
               120 Second Street                                                                                         used for his own expenses.
                South Orange, NJ 07079
               Former Mana er

5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      D None

       Creditor's name and address                      Describe of the Property                                       Date                 Value of property

      Al Capital Partners LLC                          4314 Kennedy Blvd.                                               Filed - Nov.                Unknown
      3382 155 th Street                                Union City, NJ07087                                            17 ,2022
      Flushing, NY11354                                                                                                Dismissed
                                                       4316 Kennedy Blvd.                                              December27,
                                                       Union City, NJ07087                                             2022
                                                       Block254                                                        Amended
                                                                                                                        Complaint
                                                       4312 Kennedy Blvd.                                              Filed5/1/2023
                                                       Union City, NJ 07087
                                                       Lot25


6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
    debt.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page2
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   Debtor
                                                           Document      Page 32 of 46
               4312 Kennedy Blvd LLC                                                                Case number (if known) --------------




       ■    None

        Creditor's name and address                     Description of the action creditor took                        Date action was                  Amount
                                                                                                                       taken

 l:ffliM Legal Actions or Assignments
 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
     in any capacity-within 1 year before filing this case.

       D None.

                Case title                              Nature of case               Court or agency's name and                Status of case
                Case number
                                                                                                                               ■
                                                                                     address
        7.1.   Al CAPITAL PARTNERS                      Foreclosure                  Superior Court of New                       Pending
               VS                                                                    Jersey                                    D On appeal
               4312 KENNEDY BLVD LLC
                                                                                                                               D Concluded
               SWC-F-01247-22

 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
     receiver, custodian, or other court�appointed officer within 1 year before filing this case.

      ■    None


i:lffliM Certain Gifts and Charitable Contributions
9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      ■    None

               Recipient's name and address            Description of the gifts or contributions                  Dates given                             Value


l:lffliW Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      ■   None

       Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/8 (Schedule
                                                       AIB: Assets- Real and Personal Property).

l=Ml•A Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      D None.

                Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                            value
                Address




Official Form 207                           Statement of Financial Affairs for Non�lndividuals Filing for Bankruptcy                                      page 3
               Case 23-15007-VFP                  Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                   Desc Main
                                                             Document      Page 33 ofCase
                                                                                       46number (if known)
   Debtor       4312 Kennedy Blvd LLC                                                                                      ------------

                   Who was paid or who received              If not money, describe any property transferred             Dates                  Total amount or
                   the transfer?                                                                                                                         value
                   Address
        11.1.    Rabinowitz, Lubetkin & Tully,
                 LLC                                        Attorney Fees - Retainer; pre-petition
                 293 Eisenhower Parkway                     billings of $39,388.34 paid in the ordinary
                 Suite 100                                  course for forbearance and restructuring                     April 26,
                 Livingston, NJ 07039                       related services.                                            2023                       $59,000.00

                   Email or website address


                 Who made the payment, if not debtor?
                 Debtor - Based on infusion from
                 Donna Davis, sister of Betty Davis,
                 Manager



 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 1 O years before the filing of this case
     to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

       ■   None.

       Name of trust or device                              Describe any property transferred                    Dates transfers               Total amount or
                                                                                                                 were made                               value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      ■    None.

                Who received transfer?                   Description of property transferred or                     Date transfer              Total amount or
                Address                                  payments received or debts paid in exchange                was made                            value

i@fM Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      D Does not apply

                Address                                                                                              Dates of occupancy
                                                                                                                     From-To
       14.1.    120 Second Street                                                                                    While James Davis was manager
                South Orange, NJ 07079


liffli:@ Health Care Bankruptcies
15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      ■
      D
            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services                 If debtor provides meals
                                                        the debtor provides                                                          and housing, number of
                                                                                                                                     patients in debtor's care
Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page4
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                                                            Document      Page 34 ofCase
                                                                                     46number (if known)
  Debtor       4312 Kennedy Blvd LLC                                                                                      -------------



 l@EM Personally Identifiable Information
 16. Does the debtor collect and retain personally identifiable information of customers?

        ■
        D
              No.
              Yes. State the nature of the information collected and retained.

 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401{k), 403(b), or other pension or
     profit-sharing plan made available by the debtor as an employee benefit?

        ■
        D
             No. Go to Part 10.
             Yes. Does the debtor serve as plan administrator?


 i@lltM Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
     cooperatives, associations, and other financial institutions.

       ■ None
                   Financial Institution name and        Last 4 digits of           Type of account or          Date account was                  Last balance
                   Address                               account number             instrument                  closed, sold,                 before closing or
                                                                                                                moved,or                               transfer
                                                                                                                transferred

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
     case.


      ■     None

        Depository institution name and address               Names of anyone with                  Description of the contents                Does debtor
                                                              access to it                                                                     still have it?
                                                              Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      ■     None

        Facility name and address                            Names of anyone with                   Description of the contents               Does debtor
                                                             access to it                                                                     still have it?


IHIIM Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list !eased or rented property.

    ■   None


l@ifM Details About Environment Information
For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
             Case 23-15007-VFP                 Doc 1       Filed 06/08/23 Entered 06/08/23 15:26:21                                     Desc Main
   Debtor
                                                          Document      Page 35 of 46
                4312 Kennedy Blvd LLC                                                             Case number (it known) ______________




       Hazardous matedal means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
       similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       ■     No.
       D     Yes. Provide details below.

        Case title                                          Court or agency name and               Nature of the case                           Status of case
        Case number                                         address

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

       ■
       D
            No.
            Yes. Provide details below.

        Site name and address                               Governmental unit name and                 Environmental law, if known              Date of notice
                                                            address

 24. Has the debtor notified any governmental unit of any release of hazardous material?

       ■
       D
            No.
            Yes. Provide details below.

       Site name and address                                Governmental unit name and                Environmental law, if known              Date of notice
                                                            address

@PfuiHI Details About the Debtor's Business or Connections to Any Business
 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

      ■    None

    Business name address                            Describe the nature of the business              Employer Identification number
                                                                                                      Do not include Social Security number or ITlN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         D None

       Name and address                                                                                                               Date of service
                                                                                                                                      From�To
       26a.1.       James Davis
                    120 Second Street
                    South Orange, NJ 07079

       26a.2.       Betty Davis
                    7855 Boulevard East, Apartment 168
                    North Bergen, NJ 07047

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

           D None




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
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   Debtor
                                                           Document      Page 36 ofCase
                                                                                    46 number (if known) _____________
                4312 Kennedy Blvd LLC



          Name and address                                                                                                            Date of service
                                                                                                                                      From-To
        26b.1.      Jorge Piney
                    400 44th Street
                    Union City, NJ 07087

      26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

            D None

        Name and address                                                                              If any books of account and records are
                                                                                                      unavailable, explain why
        26c.1.      James Davis
                    120 Second Street
                    South Orange, NJ 07079

        26c.2.      Betty Davis
                    7855 Boulevard East, Apartment 16B
                    North Bergen, NJ 07047

     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.

            ■   None

       Name and address

 27. Inventories
     Have any inventories of the debtor's property been taken within 2 years before filing this case?

      ■
      D
            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                     or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                   Address                                              Position and nature of any                % of interest, if
                                                                                                   interest                                  any
       Betty Davis                            7855 Boulevard East, Apartment 16B                   Manager
                                              North Bergen, NJ 07047

       Name                                   Address                                              Position and nature of any               % of interest, if
                                                                                                   interest                                 any
       Leonor Davis                           4301 Kennedy Blvd.                                                                            100
                                              North Bergen, NJ 07047



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      □
      ■
            No
            Yes. Identify below.

      Name                                    Address                                             Position and nature of any            Period during which
                                                                                                  interest                              position or interest
                                                                                                                                        was held
      James Davis                            120 Second Street
                                             South Orange, NJ 07079


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  Debtor
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                4312 Kennedy Blvd LLC



 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
     loans, credits on loans, stock redemptions, and options exercised?

       □       No
       ■       Yes. Identify below.

                 Name and address of recipient         Amount of money or description and value of                Dates              Reason for
                                                       property                                                                      providing the value
        30.1                                                                                                                        James Davis
                                                                                                                                     refinanced
                                                                                                                                    mortgages on the
                                                                                                                                     Debtor's
                                                                                                                                    properties and
                                                                                                                                    upon information
                                                                                                                                    and belief used
                                                                                                                                    the proceeds to
                                                                                                                                    pay off
                                                                                                                                    non-debtor loans
                                                                                                                                    to Al Capital
                                                                                                                                    Partners LLC in
                                                                                                                                    the amount of
                                                                                                                                    $444,612, and
                                                                                                                                    caused to be
                                                                                                                                    funded escrows
                                                                                                                                    and reserve fees
                James Davis                                                                                                         of approximately
                120 Second Street                                                                                On or about        $290,000
                South Orange, NJ 07079                                                                           July 14, 2022      additionally.

                Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      ■
      D
            No
            Yes. Identify below.

    Name of the parent corporation                                                                    Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      ■
      D
           No
           Yes. Identify below.

    Name of the pension fund                                                                          Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for NonMlndividuals Filing for Bankruptcy                                  pages
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  Debtor      4312 Kennedy Blvd LLC                                                                                     --------------

 ■ =ttllGM Signature and Declaration
       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

  Executed on                     6) s-/�'?J
                                      1
                                                                  Betty Davis
                                                                  Printed name

  Position or relationship to debtor   Betty Davis, Manager


 ■
 Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
 D Yes




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 82030 (Form 2030) (12/15)
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                                                                                    Debtor(s)                       Chapter     11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
 l.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify thatf am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing ofthe petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalfofthe debtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:
               For legal services, I have agreed to accept_··-----·····-·················-·-············-·-··   $               59,000.00 Retainer
               Prior to the filing ofthis statement I have received_____···················----                 $               59,000.00
               Balance Due----------·--··-······..···-·····--··----------                                       $                     0.00

2.       The source ofthe compensation paid to me was:                  *$39,388.34 was received for pre-petition services paid in the ordinary course

              D Debtor            ■     Other (specify):       Debtor - Based on infusion from Donna Davis, sister of B·etty Davis, Manager

3.       The source ofcompensation to be paid to me is:
              ■    Debtor         D     Other (specify):

4.       ■    I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates ofmy law firm.

         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates ofmy law firm. A
           copy of the agreement, together with a list ofthe names ofthe people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b.   Preparation and filing ofany petition, schedules, statement ofaffairs and plan which may be required;
        c.   Representation ofthe debtor at the meeting ofcreditors and confirmation hearing, and any adjourned hearings thereof;
        d.   [Other provisions as needed]
                  a. Analysis of the Debtor's financial situation, and rendering advice to the debtor in determining whether to file a
                  bankruptcy petition;
                  b. Preparation and filing of any petition, schedules, statement of financial affairs and plan which may be required;
                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
                  thereof; and
                  d. Other provisions as needed.

6.      By agreement with the debtor(s}, the above-disclosed fee does not include the following service:
                Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                any other adversary proceeding.



                                k3
                                                                         CERTIFICATION
      I certify that the foregoing is a complete statement ofany agreement or arrangem                                 for representation ofthe debtor(s) in
this bankruptcy prow


      Date                                                                        Jay L.
                                                                                  Signa
                                                                                  Rab      itz, Lubetkin & Tully, LLC
                                                                                  293 Eisenhower Parkway
                                                                                  Suite 100
                                                                                  Livingston, NJ 07039
                                                                                  973-597-9100 Fax: 973-597-9119
                                                                                  Name of lawfirm
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                                                  LIST OF EQUITY SECURITY HOLDERS
 Following is the list of the Debtor's equity security holders which is prepared in accordance with rule I007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                    Security Class Number of Securities                              Kind of Interest
 business of holder
  Leonor Davis                                                                                                               100% membership interest
  4301 Kennedy Blvd.
  North Bergen, NJ 07047


 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Betty Davis, Manager of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date                                                                    Signature            �
                                                                                        Betty Davi

                   Penalty for making a false statement of concealing property: Fine ofup to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet I of I in List of Equity Security Holders
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                                   VERIFICATION OF CREDITOR MATRIX


I, the Betty Davis, Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best ofmy knowledge.




Date:
                                                        Betty Davi�er
                                                        Signer/Title
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                                                                                                _________




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 4312 Kennedy Blvd LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Leonor Davis




D None [Check ifapplicable]




Date                                              ay
                                              J
                                               Si <
                                                       �-i.�'..:z?���-.:1.'"71i
                                               Cou                                LC
                                              Rabinowitz, Lubetkin & Tully, LLC
                                              293 Eisenhower Parkway
                                              Suite 100
                                              Livingston, NJ 07039
                                              973-597-9100 Fax:973-597-9119
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                    A Plus Pest Management Inc.
                    55 9 Palisade Ave.
                    Jersey City, NJ 07307

                    AI Capital Partners LLC
                    3382 155th Street
                    Flushing, NY 11354

                    AI Capital Partners LLC
                    3382 155th Street
                    Flushing, NY 11354

                    AI Capital Partners LLC
                    3382 155th Street
                    Flushing, NY 11354

                    AI Capital Partners LLC
                    3382 155th Street
                    Flushing, NY 11354

                    Beracas Auto Repairs      &   Tires, LLC
                    121 41st Street
                    Apt. 2
                    Union City, NJ 07087

                    Carlos Luna
                    4312 Kennedy Blvd
                    Apartment 3
                    Union City, NJ 07087

                    Eamonn J. O'Hagan, Esq.
                    United States Attorney's Office - Newark
                    970 Broad Street
                    Room 700
                    Newark, NJ 07102-2534

                    Edwin T. Brando, Jr., Esq.
                    Newman, Simpson & Cohen LLP
                    Court Plaza North
                    25 Main Street, 6th Floor
                    Hackensack, NJ 07601
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                    Edwin T. Brando, Jr., Esq.
                    Newman, Simpson & Cohen LLP
                    Court Plaza North
                    25 Main Street, 6th Floor
                    Hackensack, NJ 07601

                    Hidalgo Luviano
                    4314 Kennedy Blvd.
                    Apartment 1
                    Union City, NJ 07087

                    Hilaria
                    4312 Kennedy Blvd
                    Apartment 1
                    Union City, NJ 07087

                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101

                    James Davis
                    120 Second Street
                    South Orange, NJ 07079

                    James Davis
                    120 Second Street
                    South Orange, NJ 07079

                    James Davis
                    120 Second Street
                    South Orange, NJ 07079

                    Juan Carlos Ambrosio
                    4312 Kennedy Blvd
                    Apartment 2
                    Union City, NJ 07087

                    LaGlamerosa Events LLC
                    4312 Kennedy Blvd.
                    Union City, NJ 07087

                    Leonardo Espinosa
                    4314 Kennedy Blvd
                    Apartment 2
                    Union City, NJ 07087
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                    Marta Pintle
                    4312 Kennedy Blvd
                    Union City, NJ 07087

                    Morales
                    4312 Kennedy Blvd
                    Apt. 5
                    Union City, NJ 07087

                    New Jersey Attorney General Office
                    Division of Law
                    Richard J. Hughes Justice Complex
                    25 Market Street, P.O. Box 112
                    Trenton, NJ 08625

                    New Jersey Division of Taxation
                    Compliance and Enforcement
                    3 John Fitch Way, 5th Floor
                    PO Box 245
                    Springfield, NJ 08695

                    North Hudson Sewerage Authority
                    1600 Adams St.
                    Hoboken, NJ 07030

                    North Hudson Sewerage Authority
                    1600 Adams St.
                    Hoboken, NJ 07030

                    North Hudson Sewerage Authority
                    1600 Adams St.
                    Hoboken, NJ 07030

                    PSE&G
                    PO Box 14444
                    New Brunswick, NJ 08906-4444

                    Security Equipment Services
                    PO Box 1012
                    Union City, NJ 07087

                    Small Business Administration
                    PO Box 3918
                    Portland, OR 97208-3918
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                    Small Business Administration
                    2 North 20th Street
                    Suite 320
                    Birmingham, AL 35203

                    State of New Jersey
                    Department of Community Affairs
                    PO Box 810
                    Trenton, NJ 08625

                    Union City Tax Collector
                    3715 Palisade Ave.
                    Union City, NJ 07087

                    Union City Tax Collector
                    3715 Palisade Ave.
                    Union City, NJ 07087

                    Union City Tax Collector
                    3715 Palisade Ave.
                    Union City, NJ 07087

                    United States Attorney
                    Peter Rodino Federal Building
                    970 Broad Street, Suite 700
                    Newark, NJ 07102

                    United States Attorney General
                    United States Department of Justice
                    Ben Franklin Station
                    Washington, DC 20044

                    Veolia
                    69 Devoe Pl
                    Hackensack, NJ 07601
